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13
14                       UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT OF CALIFORNIA
16
       VERNON UNSWORTH,                                  2:18-cv-8048
                                               Case No. ____________
17
           Plaintiff,
18     v.                                      COMPLAINT FOR DEFAMATION
19     ELON MUSK,
           Defendant.
20
21
                                                Compliant filed: Sept. 17, 2018
22
23
24
25
26
27
28

                                         COMPLAINT
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 1         COMES NOW Plaintiff, Vernon Unsworth, and files his Complaint for
 2 Defamation against Defendant, Elon Musk, showing the Court as follows:
 3
                                   INTRODUCTION
 4
          1.    This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a)(2)
 5
   over this defamation action, which arises out of unlawful, unsupportable, and
 6
 7 reprehensible accusations by California citizen Defendant Elon Musk (“Musk”) who
 8 falsely conveyed that United Kingdom citizen Plaintiff Vernon Unsworth (“Mr.
 9 Unsworth”) is a pedophile and child rapist.
10
          2.    From June 24, 2018, through July 10, 2018, Mr. Unsworth was one of
11
   many individuals directly involved in the heroic, and ultimately successful, efforts
12
   to extract twelve boys and their soccer coach from Tham Luang Nang Non cave
13
14 system located in Northern Thailand (the “Cave System”).
15         3.    As the rescue efforts evolved, what has come to be known as the
16 Thailand Cave Rescue captured the attention of the world.
17
         4.    From July 15, 2018, to August 30, 2018, Musk periodically utilized his
18
   Twitter account and emails to the media to publish to the world false and
19
   defamatory accusations against Mr. Unsworth, including accusations of pedophilia.
20
21       5.    An accurate timeline of the events relevant to this action is attached

22 hereto as Exhibit A.
23         6.    Mr. Unsworth brings this action to hold Musk legally accountable for
24
     his wrongdoing and to vindicate his reputation.
25
                                      THE PARTIES
26
                                     Vernon Unsworth
27
28
                                            1
                                         COMPLAINT
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 1            7.    Mr. Unsworth is a highly respected caver1 whose involvement in the
 2 Thailand Cave Rescue has been described as instrumental in saving the lives of the
 3
   young boys trapped in the Cave System.
 4
         8.    In 1971, at the age of sixteen (16), Mr. Unsworth began caving.
 5
         9.    Over time, Mr. Unsworth’s passion for exploring caves evolved into
 6
 7 surveying and extending caves.
 8            10.   Prior to the Thailand Cave Rescue, Mr. Unsworth had been involved in
 9 numerous cave rescues in the United Kingdom (“UK”), including rescues necessary
10
   due to flooding, mostly in the 1970s and 1980s as a member of a UK caving club.
11
         11. Since his first visit in 2011, Mr. Unsworth has periodically traveled to
12
   Thailand where his significant other, Woranan Ratrawiphukkun (“Ms.
13
14 Ratrawiphukkun”), resides.
15            12.   Ms. Ratrawiphukkun is a 40-year old owner of a nail salon and she
16 shares a house with Mr. Unsworth in the countryside near Chiang Rai.
17
         13. Mr. Unsworth has been regularly exploring and surveying the Cave
18
   System since May 2012.
19
         14. The Cave System was originally believed to be approximately six (6)
20
21 kilometers long, but is now known to be a ten (10) kilometer cave based on Mr.
22 Unsworth’s explorations of the Cave over the past six (6) years.
23                                          Elon Musk
24
              15.   Musk is the co-founder, CEO, and product architect of Tesla, Inc.
25
              16.   Musk is the founder, CEO, and lead designer of SpaceX.
26
27   1
         Caver is a term used to describe an individual who explores or studies caves. Cavers
28 are also known as spelunkers.
                                               2
                                            COMPLAINT
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 1         17.   Musk is the co-founder and CEO of Neuralink.
 2         18.   Musk is a co-founder of PayPal.
 3
           19.   In December 2016, Musk was ranked 21st on the Forbes list of The
 4
     World's Most Powerful People.
 5
           20.   As of August 2018, Musk was reported to have a net worth of $20.2
 6
 7 Billion and is listed by Forbes as the 46th-richest person in the world.
 8         21.   Since June of 2009, Musk has maintained a Twitter account at
 9 @elonmusk.
10
         22. At all times relevant to this action, Musk’s Twitter account had over
11
   22.5 Million followers.
12
                            FACTUAL BACKGROUND
13
14                           The Thailand Cave Rescue

15         23.   On or about June 23, 2018, twelve (12) Thai boys (ages 11 to 16) who
16 were members of a soccer team and their soccer coach entered the Cave System (the
17
   “Boys”).
18
         24. The Boys became stranded and lost in the Cave System as a result of a
19
   sudden rainfall that flooded portions of the Cave System and prevented the Boys
20
21 from being able to exit the Cave System.
22         25.   The Boys remained trapped in the Cave System until July 8 through 10,
23 2018, when they were safely rescued as the result of heroic efforts by an
24
   international team of divers and other rescuers.
25
          26. Unrelated to the soccer team’s exploration of the Cave System, Mr.
26
   Unsworth was already scheduled to go into the Cave System on June 24, 2018.
27
28        27. Mr. Unsworth possessed firsthand knowledge of the Cave System from

                                           3
                                        COMPLAINT
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 1 previous surveys he had conducted of the passageway.
 2         28.    Knowledge of a cave system is extremely important in mounting a
 3
     rescue operation, both to know the possible exit routes and to know which routes are
 4
     most likely to be affected by factors such as the weather.
 5
           29.    Beginning around 2:00 a.m. on Sunday June 24, 2018, Mr. Unsworth
 6
 7 received telephone calls from his Ms. Ratrawiphukkun’s father, from Ali Comkeaw
 8 (General Director Radio Communications and Rescue Centre Maesai Chaingrai),
 9 from Nikorn Phopluechai (President Radio Communications and Rescue Centre
10
   Maesai Chaingrai), and also from Hataiwan Patisan (National Park Tham Luang)
11
   regarding the missing Boys.
12
         30. In response to that information, Mr. Unsworth traveled to the Cave
13
14 System as soon as he could on June 24.
15         31.    Mr. Unsworth was the first foreign rescuer to arrive at the Cave
16 System, and he knew immediately that it was a race against time to save the Boys.
17
         32. Mr. Unsworth was also among the last persons to leave the Cave
18
   System site after the rescue was complete.
19
         33. Shortly after arriving, Mr. Unsworth and another individual with whom
20
21 he had explored the Cave System went straight into the Cave System and saw the
22 flooding.
23         34.    With rising water levels, narrow and jagged passages, and muddy
24
     conditions causing near zero visibility, Mr. Unsworth knew that the Boys would not
25
     make it out of the Cave System alive without world-class cave divers.
26
           35.    Mr. Unsworth advised the Thai government to contact the British Cave
27
28 Rescue Council for assistance because he believed that specialized expertise in cave
                                             4
                                          COMPLAINT
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 1 rescues and particularly cave diving was required to save the Boys.
 2         36.    Mr. Unsworth communicated with an expert British diver and friend,
 3
     Rob Harper (“Mr. Harper”), to solicit his help in rescuing the Boys.
 4
           37.    Mr. Harper had just returned to the UK following an exploration of the
 5
     Cave System and other cave systems in Thailand with Mr. Unsworth.
 6
 7         38.    Mr. Harper brought with him to Thailand two other world-class divers,

 8 John Volanthen (“Mr. Volanthen”) and Rick Stanton (“Mr. Stanton”).
 9         39.    Together with Mr. Unsworth, Mr. Harper, Mr. Volanthen, and Mr.
10
     Stanton put together the dive portion of the rescue plan that ultimately saved the
11
     Boys.2
12
           40.    Mr. Unsworth was on hand at the rescue site to brief the divers about
13
14 the Cave System upon their arrival.
15         41.    Having seen the flooding, Mr. Unsworth advised Thai officials that
16 there were only two areas where the Boys could be located, including the area of the
17
   Cave System nicknamed “Pattaya Beach,”3 which is approximately two hundred
18
   (200) meters from where the Boys were ultimately located.
19
         42. Scores of foreigners from around the globe and Thai rescuers alike
20
21 descended into the Cave System to rescue the Boys, putting their own lives at great
22 risk.
23         43.    United States Armed Forces personnel were brought in to provide
24
   2
     There are many other individuals who also deserve great credit for their efforts in
25 rescuing  the Boys but their identities and roles are beyond the scope of this
26 participationwhich
   Complaint,         is intended only to provide an overview of Mr. Unsworth’s
                 and the rescue mission itself.
27   3
    This area of the Cave has been described as a vast amphitheater-like chamber
28 named  after the popular tourist destination south of the Thai capital Bangkok.

                                             5
                                          COMPLAINT
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 1 logistical support.
 2         44.   With the help of the Cave System surveys prepared by Mr. Unsworth
 3
     and Mr. Harper, the Boys were found on July 2, 2018, by the cave diving experts,
 4
     Mr. Volanthen and Mr. Stanton.
 5
           45.   Due in no small part to the efforts of Mr. Unsworth and his knowledge
 6
 7 of the expansive Cave System, the Thai boys and their coach were located in the
 8 Cave System nine (9) days after they went missing, approximately two-and-a-half
 9 miles from the mouth of the flooded Cave System.
10
          46. Mr. Unsworth met with numerous Thai officials to share his
11
   knowledge, express the severity of the circumstances, and assist in developing a
12
   plan for the rescue.
13
14        47. After exhausting remaining options, and with the Monsoon season

15 expected to continue flooding the Cave System in a matter of days, a large meeting
16 was held on Friday, July 6 at 10 p.m., and the decision was made to extricate the
17
   Boys via a team of eighteen rescue divers divided between those who would swim
18
   the Boys out of the Cave System and those who would provide support at specific
19
   checkpoints or ‘stations’ during the dive.
20
21       48. The meeting on Friday, July 6 was attended by generals and colonels

22 from the Thai military and other government officials.
23         49.   Although Mr. Unsworth was asked to attend the July 6 meeting, he
24
     suggested that Gary Mitchell, a rescue coordinator from the British Cave Rescue
25
     Council, attend instead of him.
26
           50.   On July 6, four days after the Thai boys and their coach were located,
27
28 former Thai navy SEAL Saman Gunan tragically lost his life as a result of
                                           6
                                        COMPLAINT
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 1 asphyxiation during the eleven-hour roundtrip dive to deliver oxygen to the Boys.
 2         51.    Although the team of rescue workers considered a wide range of
 3
     possible alternatives for their rescue mission, ultimately the rescue was
 4
     accomplished through experienced divers making supply runs to the Boys, engineers
 5
     pumping more than a billion liters of water out of the Cave System, and teams of
 6
 7 rescue divers who eventually rescued the Boys from the Cave System.
 8         52.    Mr. Unsworth was not involved in the final planning stages for the
 9 rescue because he does not possess the diving expertise necessary to have made the
10
   dive.
11
          53. Saturday, July 7 was spent preparing for the rescue operation. Some
12
   local children who were the same sizes as the Boys were found to assist. The divers
13
14 practiced carrying the children in a local swimming pool.
15         54.    The rescue operation began July 8, 2018.
16         55.    Over the course of three days between July 8 and 10, 2018, the Boys
17
     were successfully rescued from the Cave System by the combined effort of
18
     thousands, including over a hundred (100) divers and countless other individuals
19
     who were able to design and implement pumps to extricate what is reported to have
20
21 been billions of liters of water from the Cave System which was essential in order
22 for the divers to execute the rescue.
23         56.    It has been reported that none of the Boys had any diving experience,
24
     and that some of them could not swim at all.
25
           57.    For the safety of the Boys and the divers, and in order to keep the Boys
26
     from panicking during the return trip to the mouth of the Cave System, an
27
28 Australian doctor who stayed with the Boys in the Cave System for three days
                                              7
                                           COMPLAINT
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 1 sedated them.
 2         58.    Each Boy was dressed in a wetsuit and buoyancy jacket, placed in a
 3
     sling and tethered to the diver responsible for his safety. A positive pressure full
 4
     face mask was applied to each. The smallest of the Boys was too small for the face
 5
     mask, so the rescue team designed a custom apparatus for him.
 6
 7         59.    The return dive at that time of the rescue took approximately three

 8 hours after substantial water had been pumped out of the Cave System. The
 9 sedative lasted only an hour, and thus the divers were forced to re-sedate the Boys
10
   during their trip out of the Cave System.
11
         60. Once the Boys made it out of the last underwater area of the dive
12
   (emerging into an area that became known as “Chamber 3”), they were passed along
13
14 by rescuers through the Cave System to the exit on a form of stretcher known as a
15 sked. For some parts of the journey, the skeds were passed from hand to hand, for
16 some parts they were carried, and at two points the skeds were zip-lined across
17
   larger areas (known as “Chamber 2” and “Chamber 1”). At each zip-line station, the
18
   Boys were examined by medical professionals to check their vital signs and re-
19
   sedate them if necessary.
20
21        61. Mr. Unsworth was part of the team transporting the skeds to the exit of

22 the Cave System along with Thai, Australian, American, Chinese, and British
23 rescuers.
24
          62. As the world anxiously watched the plight of these young Boys and
25
   their coach, Musk offered to build a mini-submarine – a metallic tube with several
26
   protruding parts (the “Tube”) – that he claimed could transport the victims out of the
27
28 Cave System.
                                             8
                                          COMPLAINT
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 1         63.   Meanwhile, the weather continued to add a real urgency to the rescue
 2 operation. On July 9 around 7 p.m., the pump stopped working while there was also
 3
   significant rainfall overnight. The rescue of the final five (5) Boys was scheduled to
 4
   start at 8 a.m. on the morning of July 10, but the water level had risen, and the
 5
   diving team was advised that to proceed would mean risking their lives.
 6
 7         64. Musk and his team built the Tube, and he personally delivered it to the

 8 Cave System on or about the night of July 9, 2018, or the morning of July 10, 2018.
 9         65.   By the time the Tube arrived on scene, eight (8) of the twelve (12)
10
     Boys had already been rescued.
11
           66.   According to reports, the rescue effort involved more than ten thousand
12
     (10,000) people, including over one hundred (100) divers, representatives from
13
14 approximately one hundred (100) governmental agencies, nearly one thousand
15 (1,000) police officers, two thousand (2,000) soldiers, police helicopters, and
16 ambulances.
17
         67. Over the course of the rescue operation, many participants in the rescue
18
   risked their lives in an effort to save the Boys.
19
         68. Mr. Unsworth was given the opportunity to visit with the Boys in the
20
21 hospital on July 15.
22         69.   Reports indicate that the Boys are presently in good health.
23                            Mr. Unsworth’s CNN Interview
24
           70.   On July 13, 2018, Mr. Unsworth agreed to participate in an interview
25
     requested by CNN to discuss the Cave rescue (“CNN Interview”).
26
           71.   Questioned by the reporter as to what Mr. Unsworth thought of the
27
28 Tube, Mr. Unsworth stated, among other things, that Musk’s Tube was a “PR stunt,”
                                           9
                                        COMPLAINT
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 1 that the Tube “had absolutely no chance of working,”4 and that Musk “had no
 2 conception of what the cave passage was like,” adding that “[Musk] can stick his
 3
   submarine where it hurts.”
 4
                      Musk’s False and Defamatory Accusations
 5
        72. Apparently angered by Mr. Unsworth’s criticism of his Tube in the
 6
 7 CNN Interview, Musk embarked on a PR campaign to destroy Mr. Unsworth’s
 8 reputation by publishing false and heinous accusations of criminality against him to
 9 the public.
10
         73. After the CNN interview, on July 15, 2018, Musk published from his
11
   Twitter account to his approximately twenty-two million, five hundred thousand
12
   (22,500,000) followers the following tweet about Mr. Unsworth:
13
14        “Never saw this British expat guy who lives in Thailand (sus) at any
          point when we were in the caves. Only people in sight were the Thai
15        navy/army guys, who were great. Thai navy seals escorted us in – total
16
     Mr. Unsworth’s comments about the Tube were well-founded. The Tube arrived
     4
17 after the rescue operation was already underway and was an impractical tool under
18 the circumstances, even if it had arrived before the operation began. There were
   thirteen (13) individuals who had to be extracted from the Cave but only one Tube.
19 The initial rescue dives to the Boys and to swim them safely out of the Cave took
20 approximately three (3) hours, though later dives took less time. Even if all of the
   Boys could fit in the Tube, they were still likely to require sedation. The sedation
21 lasted only about an hour and the Boys could not have been tended to in the Tube.
22 The Tube was only twelve (12) inches in diameter which would not have allowed
   many of the Boys fit in it. Although the Tube had been tested in a pool, it had not
23 been tested in a cave with zero visibility. The divers had to rely on maintaining
24 contact with a dive line to find their way in and out of the chamber where the Boys
   were located. The Tube was rigid and contained many parts protruding on the
25 outside. The dive to the Boys’ location contained tight corners, high parts, low parts,
26 stalactites, and stalagmites. It is further unclear how many divers would have been
   required to maneuver the Tube, adding additional difficulty to squeezing the Tube
27 and the divers through tight areas during the rescue.
28
                                           10
                                        COMPLAINT
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 1         opposite of wanting us to leave.”
 2         A true and correct copy of the above-referenced July 15 tweet is attached
 3
     hereto as Exhibit B.
 4
           74.    “Sus” is commonly understood as an abbreviated form of “suspicious.”
 5
           75.    On July 15, 2018, Musk subsequently published a second tweet from
 6
 7 his Twitter account about Mr. Unsworth:
 8         “Water level was actually very low & still (not flowing) – you could
 9         literally have swum to Cave 5 with no gear, which is obv how the kids
           got in. If not true, then I challenge this dude to show final rescue video.
10         Huge credit to pump & generator team. Unsung heroes here.”
11         A true and correct copy of the above-referenced July 15 tweet is attached
12
     hereto as Exhibit C.
13
           76.    On July 15, 2018, Musk subsequently published a third tweet from his
14
     Twitter account about Mr. Unsworth:
15
16         “You know what, don’t bother showing the video. We will make one
           of the mini-sub/pod going all the way to Cave 5 no problemo. Sorry
17
           pedo guy, you really did ask for it.”
18
           A true and correct copy of the above-referenced July 15 tweet is attached
19
     hereto as Exhibit D.
20
21         77.    Pedo is a well-recognized shorthand phrase for the term pedophile.

22         78.    A pedophile is a term used to describe an adult who derives sexual
23 gratification from sexual fantasies or acts involving a child.
24         79.    When offered an opportunity on Twitter to clarify what evidence he
25
     possessed to support his accusation of pedophilia against Mr. Unsworth, Musk
26
     confirmed that he intended his accusation literally when he replied in a fourth July
27
28 15 tweet from his Twitter account about Mr. Unsworth:
                                             11
                                          COMPLAINT
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 1         “Bet ya a signed dollar it’s true.”
 2         A true and correct copy of the above-referenced July 15 tweet is
 3
     attached hereto as Exhibit E.
 4
           80.    On July 18, 2018, following public comments by shareholders of one
 5
     of his companies expressing displeasure with Musk’s accusation of pedophilia
 6
 7 against Mr. Unsworth without any evidence, Musk deleted the July 15 accusatory
 8 tweets and published two tweets which purported to be an apology:
 9
           “As this well-written article suggests, my words were spoken in anger
10         after Mr. Unsworth said several untruths & suggested I engage in a
11         sexual act with the min-sub, which had been built as an act of kindness
           & according to specifications from the dive team leader.
12
           A true and correct copy of the above-referenced July 18 tweet is attached
13
     hereto as Exhibit F.
14
15         “Nonetheless, his actions against me do not justify my actions against
           him, and for that I apologize to Mr. Unsworth and to the companies I
16         represent as leader. The fault is mine and mine alone.”
17
           A true and correct copy of the above-referenced July 18 tweet is attached
18
     hereto as Exhibit G.
19
           81.    Although Musk’s “apology” to Mr. Unsworth stated that his
20
21 accusations were not justified and were made out of anger, the “apology”
22 significantly did not disavow or retract his accusations of pedophilia against Mr.
23 Unsworth.
24
         82. On August 6, 2018, Mr. Unsworth, through counsel, transmitted a letter
25
   to Musk at the email address identified by Musk, which letter advised him that his
26
   accusation of pedophilia against Mr. Unsworth was false and requested that Musk
27
28 correct the public record. A true and correct copy of the August 6 letter is attached
                                             12
                                          COMPLAINT
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 1 hereto as Exhibit H.
 2         83.    On August 28, 2018, Musk responded by publishing a seventh tweet
 3
     about Mr. Unsworth:
 4
 5         “You don’t think it’s strange he hasn’t sued me? He was offered free
           legal services. And you call yourself @yoda …”
 6
           A true and correct copy of the above-referenced August 28 tweet is attached
 7
     hereto as Exhibit I.
 8
 9         84.    Musk’s August 28 tweet conveyed to the average reader that Mr.

10 Unsworth’s failure to sue him was evidence that Mr. Unsworth is, in fact, a
11 pedophile and guilty of the most heinous crimes.
12
          85. A s he will have anticipated, Musk’s August 28 tweet set off a chain
13
   reaction on Twitter and in the media.
14
          86. On August 28, 2018, BuzzFeed News (and many others) published an
15
16 article regarding Musk’s continued accusations of pedophilia against Mr. Unsworth.
17 A true and correct copy of the August 28 BuzzFeed News article is attached hereto
18 as Exhibit J.
19
         87. On August 29, 2018, in an effort to refute Musk’s renewed effort to
20
   defame Mr. Unsworth, one of Mr. Unsworth’s attorneys responded via Twitter to
21
   the Musk August 28 tweet by stating that Musk “should check his mail before
22
23 tweeting” and attaching a true and correct copy of Mr. Unsworth’s August 6, 2018,
24 demand letter.
25         88.    On August 30, 2018, in an e-mail sent directly to the reporter who
26
     authored the August 28 BuzzFeed News report, Musk confirmed his previous
27
     accusations of pedophilia and published new false and defamatory accusations
28
                                            13
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 1 against Mr. Unsworth:
 2        “I suggest that you call people you know in Thailand, find out what’s
 3        actually going on and stop defending child rapists, you fucking asshole.
          He’s an old, single white guy from England who’s been traveling or
 4        living in Thailand for 30 to 40 years, mostly Pattaya Beach, until
 5        moving to Chiang Rai for a child bride who was about 12 years old at
          the time. There’s only one reason people go to Pattaya Beach. It isn’t
 6        where you’d go for caves, but it is where you’d go for something else.
 7        Chiang Rai is renowned for child sex-trafficking.
 8        He may claim to know how to cave dive, but he wasn’t on the cave dive
 9        rescue team and most of the actual dive team refused to hang out with
          him. I wonder why . . .
10
11        As for this alleged threat of a lawsuit, which magically appeared when
          I raised the issue (nothing was sent or raised beforehand), I fucking
12
          hope he sues me.”
13
14        A true and correct copy of the September 4 BuzzFeed News article
15 containing Musk’s August 30 emails is attached hereto as Exhibit K.
16
          89. In the first August 30 email to BuzzFeed News, Musk falsely accuses
17
   Mr. Unsworth of being a child rapist, marrying a 12-year old child, engaging in child
18
19 sex trafficking, and being excluded by the dive team because of his alleged
20 misconduct with children.
21        90.   In his first August 30 email to BuzzFeed News, in an effort to link Mr.
22 Mr. Unsworth to sexual crimes against Thai children, Musk falsely states that Mr.
23
   Unsworth had visited Pattaya Beach or lived in Thailand for 30 to 40 years and
24
   falsely stated that he lived in Chiang Rai with a 12-year old bride.
25
26        91. While the Cave System at issue contains a shelf and air pocket

27 nicknamed “Pattaya Beach,” which is near where the stranded Boys were located,
28 Mr. Unsworth has never visited Pattaya Beach in Thailand.
                                           14
                                        COMPLAINT
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 1            92.   Not satisfied with repeating and expanding his list of false accusations
 2 against Mr. Unsworth, Musk sent a second email to the BuzzFeed News reporter on
 3
   August 30 publishing additional false and defamatory statements about Mr.
 4
   Unsworth:
 5
 6            “Unsworth also said I was asked to leave by the Thai govt, which is
              utterly false. Thai Prime Minister thanked me personally per attached
 7            docs. I went all the way to area 3 with the Thai SEAL team, who were
 8            awesome. Never saw Unsworth at any point. Was told he was banned
              from the site. It is also total bs that the mini-sub wouldn’t fit through
 9            the caves.
10
              It was designed and built to specifications provided to me directly by
11            Stanton and the actual dive team. The only reason it wasn’t used was
12            that they were able to drain almost all the water out of the cave, so the
              underwater portion was very short, and the monsoon arrived later than
13
              expected.
14
              Those pumps were critical. Some of the Tesla team helped with
15
              electrical power, but major credit to whoever provided those pumps.
16            They were amazing. I’m told they were from some company in India.”
17            See Exhibit K.
18            93.   In his second August 30 email to BuzzFeed News, Musk false accuses
19
     Mr. Unsworth of being a liar and falsely states that he was banned from the rescue
20
     site.5
21
22            94.   The falsity of Musk’s accusations about Mr. Unsworth’s involvement

23 in the rescue and his relationship with the diving team is underscored by the on the
24 record comments of other rescuers whose participation in the rescue mission was
25 critical in saving the lives of the Boys as reported in the September 4 BuzzFeed
26
27  Musk’s August 30 emails also misrepresent conditions surrounding the rescue
     5

28 efforts and facts concerning the Tube.

                                               15
                                            COMPLAINT
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 1 News article:
 2         I’ve got no idea what gave you those concerns about Vern. . . . They are
 3         completely unfounded. He was never kicked off site by anyone and
           worked continuously on the rescue for the full duration. He was pivotal
 4         to the entire operation.
 5
           Vern seemed like an excellent guy and absolutely vital to the mission. .
 6         . . You must be confusing him with someone else.
 7
           He was pivotal with his knowledge of the cave. The rescue wouldn’t
 8         have happened without him recommending the Brits were called.
 9
           95.    The republication of the Musk August 30 emails by BuzzFeed News
10
     was foreseeable and Musk is liable to Mr. Unsworth for their republication.
11
           96.    All of the false and defamatory accusations by Musk against Mr.
12
13 Unsworth were published without privilege and with actual knowledge of falsity or
14 with a reckless disregard for truth or falsity
15         97.    Instead of retracting his false accusations and ceasing his campaign to
16
     impugn Mr. Unsworth, Musk publicly stated, “I fucking hope he sues me.” See
17
     Exhibit K.
18
                                JURISDICTION AND VENUE
19
20         98.    Mr. Unsworth is a resident of Hertfordshire County, England and a
21 citizen of the United Kingdom.
22         99.    Defendant Musk is a resident of the State of California living in this
23
     District and is a citizen of the United States.
24
           100. Defendant Musk can be served with summons and complaint at his
25
     personal residence or the offices of Tesla or the offices of SpaceX.
26
27         101. Mr. Unsworth and Musk are citizens and residents of different nations,
28 and the matter in controversy between them exceeds the sum or value of $75,000.00,
                                              16
                                           COMPLAINT
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 1 exclusive of interest and costs.
 2         102. This Court has jurisdiction of this civil action pursuant to 28 U.S.C.
 3
     § 1332(a)(2).
 4
           103. As the direct and proximate result of Musk’s false and defamatory
 5
     accusations, Mr. Unsworth suffered damage to his reputation in the State of
 6
 7 California, as well as on a national and international basis.
 8         104. The conduct of Musk in initially publishing the false and defamatory
 9 tweets and emails occurred in the State of California.
10
         105. The false and defamatory tweets and emails were published originally
11
   by Musk in the State of California.
12
         106. Twitter maintains its corporate headquarters in California.
13
14       107. As one of the highest-profile and wealthiest individuals in the world,

15 Musk knew that this accusations against Mr. Unsworth would be conveyed to a
16 worldwide audience and would result in the accusations receiving massive publicity.
17
        108. In this action, Mr. Unsworth seeks a recovery for the worldwide
18
   damage he has suffered to his reputation, with the exception of the reputational
19
   damage he suffered in England and Wales.
20
21      109. A separate action for the reputational damage to Mr. Unsworth suffered

22 in England and Wales will be filed and pursued against Musk in the High Court of
23 London.
24
        110. This Court has both specific and general jurisdiction over Musk.
25
        111. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(1)-(2).
26
                   CAUSE OF ACTION FOR DEFAMATION
27
28      112. Mr. Unsworth reasserts and incorporates by reference paragraphs 1

                                            17
                                         COMPLAINT
  Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 19 of 66 Page ID #:19



 1 through 111 of this Complaint as if fully restated herein.
 2         113. Musk’s publications in Exhibits B, C, D, E, F, G, I, and K, as
 3
     referenced in paragraphs 73, 75, 76, 79, 80, 83, and 88 of this Complaint, are
 4
     hereinafter referred to as the “False and Defamatory Accusations.”
 5
           114. Pedophilia is reprehensible, and the sexual exploitation of children is
 6
 7 outlawed around the world, including in the United States, California, United
 8 Kingdom, and Thailand.
 9         115. At least 173 countries have signed and ratified the Optional Protocol on
10
     the Sale of Children, Child Prostitution and Child Pornography.
11
           116. Musk’s False and Defamatory Accusations falsely accused Mr.
12
     Unsworth of being a (1) a pedophile, (2) a child rapist, (3) a child sex-trafficker, (4)
13
14 the husband of a 12-year old child bride, and (5) a liar.
15         117. Mr. Unsworth is not pedophile
16         118. Mr. Unsworth has never engaged in an act of pedophilia.
17
           119. Mr. Unsworth is not a child rapist.
18
           120. Mr. Unsworth has never raped a child (or anyone else).
19
           121. Mr. Unsworth is not a child sex-trafficker.
20
21         122. Mr. Unsworth has never in engaged in an act of child sex-trafficking

22 (or adult sex-trafficking).
23         123. Mr. Unsworth is not married to a 12-year old child.
24
           124. Mr. Unsworth has never been married to a 12-year old child (or any
25
     minor child).
26
           125. Mr. Unsworth is not a liar.
27
28         126. Mr. Unsworth did not lie in the CNN Interview.

                                              18
                                           COMPLAINT
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 1        127. The False and Defamatory Accusations, individually and collectively,
 2 were published without privilege and were published with actual malice.
 3
         128. The False and Defamatory Accusations, individually and collectively,
 4
   are defamatory per se and damages to Mr. Unsworth are presumed as a matter of
 5
   law.
 6
 7       129. The False and Defamatory Accusations are libelous on their face in that

 8 they are defamatory of Mr. Unsworth without the necessity of explanatory matter or
 9 other extrinsic facts, and/or they impute to Mr. Unsworth criminal conduct.
10
          130. The False and Defamatory Accusations directly and proximately
11
   caused substantial and permanent damage to Mr. Unsworth.
12
          131. Musk negligently published the False and Defamatory Accusations.
13
14        132. Musk published the False and Defamatory Accusations with actual

15 malice, that is, with actual knowledge of falsity or a reckless disregard for truth or
16 falsity.
17
          133. Musk has never retracted the False and Defamatory Accusations.
18
          134. Musk published the False and Defamatory Accusations without
19
   conducting a reasonable investigation.
20
21        135. The False and Defamatory Accusations were manufactured out of

22 whole cloth by Musk out of a belief on his part that his wealth and stature allowed
23 him to falsely accuse Mr. Unsworth with impunity simply because Musk disagreed
24
   with Mr. Unsworth’s assessment of the viability of the Tube expressed in the CNN
25
   Interview.
26
          136. The False and Defamatory Accusations include accusations by Musk
27
28 that are the product of intentional misrepresentation of comments by third parties
                                            19
                                         COMPLAINT
  Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 21 of 66 Page ID #:21



 1 involved in the Thailand Cave Rescue about Mr. Unsworth’s involvement in the
 2 rescue.
 3
          137. Musk published the False and Defamatory Accusations without any
 4
   reliable or credible sources or information.
 5
          138. Apparently angered by his efforts being rejected or not being
 6
 7 recognized, Musk intentionally sought to strike out publicly against Mr. Unsworth
 8 by damaging his reputation with a salacious and spurious accusation of pedophilia.
 9         139. Despite his total lack of information supporting his False and
10
     Defamatory Accusations, Musk overtly conveyed to the world that he was in
11
     possession of undisclosed false and defamatory facts proving Mr. Unsworth to be
12
     guilty of the accusations Musk lodged against him.
13
14         140. Musk is liable for damages for each False and Defamatory Accusations

15 and for all republications of the False and Defamatory Accusations.
16         141. Mr. Unsworth has suffered emotional distress as a result of Musk’s
17
     False and Defamatory Accusations.
18
           142. Because Musk published the False and Defamatory Accusations with
19
     both Constitutional and common law malice, Mr. Unsworth is entitled to an award
20
21 of punitive damages to punish him for his wrongdoing and deter him from repeating
22 such heinous conduct in the future against others.
23         143. Musk’s conduct was willful and demonstrates that entire want of care
24
     that raises a conscious indifference to consequences.
25
           WHEREFORE, Plaintiff, Vernon Unsworth, respectfully prays for judgment
26
     against Defendant, Elon Musk, as follows:
27
28
                                            20
                                         COMPLAINT
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Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 23 of 66 Page ID #:23
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                         EXHIBIT A




                         EXHIBIT A
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                                 Exhibit 1 – Timeline of Events

2011 – Mr. Unsworth travels to Thailand for the first time in his life.

May 2012 – Mr. Unsworth begins exploring the Tham Luang Nang Non cave in Northern
  Thailand (the “Cave System”).

June 23, 2018 – Twelve Thai boys, ages eleven to sixteen, and their soccer coach (the “Boys”)
   enter the Cave.

June 24, 2018 – Mr. Unsworth received a telephone call from the father of his significant other
   and also from a prominent local businessman and Thai government official regarding the
   missing Boys.

June 28, 2018 – United States military personnel deployed to rescue site.

July 2, 2018 – With the help of Cave System surveys prepared by Mr. Unsworth and an
   associate, the Boys were found on July 2, 2018, by cave diving experts Mr. Volanthen and
   Mr. Stanton.

July 6, 2018 – Official decision was made to extricate the Boys using rescue divers.

July 8, 2018 – Rescue team extracts four (4) Boys from the Cave System.

July 9, 2018 – Rescue team extracts four (4) more Boys from the Cave System.

July 9 (very late) or 10 (early hours), 2018 – Musk delivers a mini-submarine – a metallic tube
   with several protruding parts (the “Tube”) – to the Cave System.

July 10, 2018 – Rescue team extracts remaining five (5) Boys from the Cave System.

July 13, 2018 – In an interview with CNN, Mr. Unsworth stated, inter alia, that Musk’s Tube
   was a “PR stunt,” that the Tube “had absolutely no chance of working,” and that Musk “had
   no conception of what the cave passage was like,” adding that “[Musk] can stick his
   submarine where it hurts.”

July 15, 2018
   – Musk publishes first tweet about Mr. Unsworth stating, “Never saw this British expat guy
   who lives in Thailand (sus[picious]) at any point when we were in the caves. Only people in
   sight were the Thai navy/army guys, who were great. Thai navy seals escorted us in – total
   opposite of wanting us to leave.”

   – Musk publishes second tweet about Mr. Unsworth stating, “Water level was actually very
   low & still (not flowing) – you could literally have swum to Cave 5 with no gear, which is
   obv how the kids got in. If not true, then I challenge this dude to show final rescue video.
   Huge credit to pump & generator team. Unsung heroes here.”

                                                 1
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   – Musk publishes third tweet about Mr. Unsworth stating, “You know what, don’t bother
   showing the video. We will make one of the mini-sub/pod going all the way to Cave 5 no
   problem. Sorry pedo guy, you really did ask for it.” (emphasis added).
   – Musk publishes fourth tweet about Mr. Unsworth stating, “Bet ya a signed dollar it’s true.”

July 18, 2018
   – Musk publishes fifth tweet about Mr. Unsworth stating, “As this well-written article
   suggests, my words were spoken in anger after Mr. Unsworth said several untruths &
   suggested I engage in a sexual act with the mini-sub, which had been built as an act of
   kindness & according to specifications from the dive team leader.”
   – Musk publishes sixth tweet about Mr. Unsworth stating, “Nonetheless, his actions against
   me do not justify my actions against him, and for that I apologize to Mr. Unsworth and to the
   companies I represent as leader. The fault is mine and mine alone.”

August 6, 2018 – Counsel for Mr. Unsworth sends demand letter to Musk regarding his false and
  defamatory tweets about Mr. Unsworth.

August 28, 2018 – Musk publishes seventh tweet about Mr. Unsworth stating, “You don’t think
  it’s strange he hasn’t sued me? He was offered free legal services. And you call yourself
  @yoda . . . .”

August 29, 2018
  – Unsworth Attorney Lin Wood tweet reply to Musk August 28 tweet stating, “@elonmusk
  should check his mail before tweeting” and attaches copy of August 6 letter.
  – BuzzFeed News publishes article entitled “Elon Musk Has Revisited His Baseless
  Pedophile Claims.”

August 30, 2018
  – Musk emails BuzzFeed News reporter stating, inter alia:

       I suggest that you call people you know in Thailand, find out what’s actually going
       on and stop defending child rapists, you f****ing a**hole. He’s an old, single
       white guy from England who’s been traveling or living in Thailand for 30 to 40
       years, mostly Pattaya Beach, until moving to Chiang Rai for a child bride who was
       about 12 years old at the time. There’s only one reason people go to Pattaya Beach.
       It isn’t where you’d go for caves, but it is where you’d go for something else.
       Chiang Rai is renowned for child sex-trafficking.

       He may claim to know how to cave dive, but he wasn’t on the cave dive rescue
       team and most of the actual dive team refused to hang out with him. I wonder why.
       ...

       As for this alleged threat of a lawsuit, which magically appeared when I raised the issue
       (nothing was sent or raised beforehand), I f****ing hope he sues me.



                                                2
   Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 27 of 66 Page ID #:27



   – Musk sends second email to BuzzFeed News reporter stating, inter alia, “Unsworth also
   said I was asked to leave by the Thai govt, which is utterly false. . . . Never saw Unsworth at
   any point. Was told he was banned from the site.”

September 4, 2018 – BuzzFeed News publishes article entitled “In A New Email, Elon Musk
   Accused A Cave Rescuer Of Being A ‘Child Rapist’ And Said He ‘Hopes’ There’s A
   Lawsuit.”




                                                3
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                          EXHIBITB




                          EXHIBITB
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       Elon Musk




Never saw this British expat guy who lives in
Thailand (sus) at any point when we were in
the caves. Only people in sight were the Thai
navy/army guys, who were great Thai navy
seals escorted us in - total opposite of
wanting us to leave .
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                          EXHIBITC




                          EXHIBITC
     Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 31 of 66 Page ID #:31




      Elon Musk




   ater level was actually very low & still (not
flowing) - you could literally have swum to
Cave 5 ·th no gear, which is obv how the
kids got in. If not true, then I challenge this
dude to show final rescue video. Huge credit
to pump & generator team. Unsung heroes
here.


10        134
                                                        •
      Elon Musk


                                                               one
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                         EXHIBITD




                          EXHIBITD
Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 33 of 66 Page ID #:33




        Elon Musk
        Never saw this British expat gLiy who iives in Thailand                 at any                      'if_Q
                                                                                                             .liJ°""


        v,ere ii, th;: caves.                    1tvere th~ Thai                      O\JVS.
                                                                                      ,.,   .\VhC1 \Ver,e
              Thai navy seals escorted us in - total   1.1pp;;,;,::,1,!:      \t:=nttn~   us to fe-av•i-.



        Eton Musk
                                                             - ycu could            have
        swum, to Cave 5 v,ith no       which is cbv how the khjs   in. If not trne, then !
                                                                           credit to pump &
                       heroes here.




                                                                                      Follow




  You know what, don t bother showing the
                                        1



  video. We will make one of the mini-sub/pod
  going all the way to Cave 5 no problemo.
  Sorry pedo guy, you really did ask for it.
Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 34 of 66 Page ID #:34




                          EXHIBITE




                         EXHIBITE
         Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 35 of 66 Page ID #:35




        Elon Musk                                                                  V
        @elonrnusk


Replying to @GossiTheD09


Bet ya a signed dollar it's true
11:1·1 AM -15 Jul 2018


44 Retweets 255 Likes      fJ' @     '" '             ll':'l. ~ ;lb
                                                      ~tl~-
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                          EXHIBITF




                         EXHIBITF
 Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 37 of 66 Page ID #:37




                                                    (-            -_~.)
                                                     '                i
                                                         "'·~-----·

      to

As this well-written article suggests, n1y words
were spoken in anger after Mr. Unsworth said
several untruths & suggested I engage in a
sexual act with the mini-sub, which had been
built as an act of kindness & according to
specifications from the dive team leader.


            22,248


                       22K
Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 38 of 66 Page ID #:38




                         EXHIBITG




                         EXHIBITG
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                        cha\leZ

 Nonetheless, his actions against me do not
justify rny actions against him, and for that I
apologize to Mr. Unsworth and to the
companies r represent as leader. The fault is
mine and mine alone.
       - 7.   20
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                          EXHIBITH




                          EXHIBITH
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          L. LIN WOOD, P.C.                                                                             L. LIN WOOD
        - - - - T R f A L LA\·\IYERS - - -
                                                                                           Direct Dial: (404) 891-1406
                                                                                             lwood@linwoodlaw.com


                                                            August 6, 2018

            VIA FED EX & ELECTRONIC MAIL

            Mr. Elon Musk
            10911 Chalon Road
            Los Angeles, CA 90077
            elon.musk@spacex.com

                     RE:     Defamation of Vernon Unsworth

            Dear Mr. Musk:

                    I have been retained by Vernon Unsworth to represent his interests in connection with the
            publication on your Twitter account of false and defamatory statements conveying that Mr.
            Unsworth is a pedophile. More specifically, you published through three different tweets to your
            twenty-two million followers that Mr. Unsworth engages in the sexual exploitation of Thai
            children, and you did so at a time when he was working to save the lives of twelve Thai children.
            You did so without any basis. According to a subsequent Twitter post, you did so out of anger.

                    I am in the process of preparing a civil complaint for libel against you. In an attempt to
            avoid litigation and to see the public record conected, I invite you or your legal representatives to
            contact me.


                                                                      Sincerely,


                                                                       h~~0
                                                                      L. Lin Wood


            cc:     Mr. Vernon Unsworth
                    Mark Stephens, CBE, Howard Kennedy LLP




1180 West Peachtree Street, Suite 2400, Atlanta, GA 30309                           F: 404-506-9111        W\vw.linwoodlaw.com
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                          EXHIBIT I




                          EXHIBIT I
    Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 43 of 66 Page ID #:43




     drew olanoff

     one other thing, elon. your dedication to facts and truth would
     have been wonderful if applied to that time when you called
     someone a pedo.

      Elon Musk


You don't think it's strange he hasn't sued me? He was
offered free legal services. And you call yourself
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                          EXHIBITJ




                          EXHIBITJ
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9/11/2018                                                Elon Musk Has Revisited His Baseless Pedophile Claims


                                                           BuzzFeed~ews
        Hurricane Florence 9 /11 Anniversary Dallas Apartment Shooting US Open Controversy

    TECH


    Elon Musk Has Revisited His Baseless
    Pedophile Claims
    "You don't think it's strange he hasn't sued me?"

    By Ryan Mac
    Last updated on August 29, 2018, at 6:30 a.m. ET
    Posted on August 28, 2018, at 2:01 p.m. ET




   Peter Parks/APP/ Getty Images


   Tesla and SpaceX CEO Elon Musk is making life difficult for himself on Twitter
   again. Days after picking up the pieces from a failed bid to take his electric car
   manufacturer private - an attempt seemingly initiated by an ill-advised tweet
   - the billionaire revisited a eroundless accusation he made about a orivate


https://www.buzzfeednews.com/article/ryanmac/elon-musk-revisits-baseless-pedophile-claims                        1/8
                Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 46 of 66 Page ID #:46
9/11/2018                                                Elon Musk Has Revisited His Baseless Pedophile Claims


    Back in July, Musk was forced to apologize after facing widespread
    condemnation for calling a British diver, who had criticized his attempts to aid
    a cave rescue effort in Thailand, a "11edo" on the social media site. On Tuesday,
    in a chain with several Twitter users, including the author of this story, Tesla's
    CEO revisited the claim, asking an individual whether they had investigated
    the pedophile claim leveled against the diver, Vern Unsworth.

    While Tesla's board members have re11ortedly,: asked Musk to stay off Twitter
    and focus on building cars and running his company, the 47-year-old tech
    luminary seems to have disregarded their guidance resurrecting a possibly
    defamatory ren1ark for which he had already apologized.

    A Tesla spokesperson declined to comment.

    Tuesday's back-and-forth began with Musk responding to a tweet about a
    previous interview he had given to the New York Times, in which he allegedly
    cried and detailed how difficult the last few months have been for him. In a
    tweet, however, Tesla's CEO denied that he had shed any tears.

    "For the record, 1ny voice cracked once during the NY Times article;' he wrote.
    "That's it. There were no tears!'

   In the discussion that followed, Drew Olanoff, a former technology reporter
   who goes by the name @Yoda on Twitter, joked about Musk's defense of
   himself. In a follow-up message, Olanoff suggested that Musk would be more
   believable had he been more dedicated to the truth before accusing someone
   of being a pedophile with no evidence.

   And that's when Musk suggested the pedophilia accusation wasn't baseless at
   all.


                       Elon Musk




https://www.buzzfeednews.com/article/ryanmac/elon-musk-revisits-baseless-pedophile-claims                        2/8
                 Case 2:18-cv-08048 Document 1 Filed 09/17/18 Page 47 of 66 Page ID #:47
9/11/2018                                                Elon Musk Has Revisited His Baseless Pedophile Claims
            l U U UUI I L ll 1111 t\. IL ::S                      ~ LI     i:11 1yt:, I It, I li:1::SI I L ::>Ut:,U

            me? He was offered free legal services. And
            you call yourself      •••




            46                333
                                                                ••
    Twitter/ Via Twitter.com


    "You don't think it's strange he hasn't sued 1ne?" Musk res11onded, suggesting
    that Unsworth's lack of legal action against him was a red flag. "He was offered
    free legal services!'

    "Did you investigate at all?" he said in a follow-UP- tweet to Olanoff. "I'm
    guessing answer is no. Why?"

    Olanoff, who told BuzzFeed News that he stood by the point he n1ade, fired
    back barbs of his own.

    "i think a lot of things are strange, elon;' he wrote. "what i think is especially
    strange here is that you're wondering why he hasn't sued you while the rest of
    us are wondering why you did something so egregious that he could sue you
    for in the first place!'

   Other reporters, including the author of this post, also tweeted at Musk, asking
   about his suggestions to investigate the baseless claims. The Tesla CEO did not
   respond to any of those tweets, but did note that Olanoff should be "a truth-
   seeker" because of his Twitter name, @Yoda. It's unclear what "truths" Musk
   was referring to.

    Beyond pondering why a private citizen has yet to sue hin1, Musk has plenty of
      ..                        •   •   •     1    m"f     r,        ...           . .
                                                                                     ...,




https://www.buzzfeednews.com/article/ryanmac/elon-musk-revisits-baseless-pedophile-claims                             3/8
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9/11/2018                                                Elon Musk Has Revisited His Baseless Pedophile Claims


   while the company is now facing several shareholder lawsuits over the matter.
   What's more, its toP- communications executive is leaving after a year that's
   been riddled with scandals, missed production goals, and unexpected tweets
   fron1 the company's CEO.

    Speaking to SkY. News on Wednesday, Unsworth said he couldn't comment on
    the matter for legal reasons, but said: "It's all being dealt with, that's all I can
    say."

    UPDATE
    August 28, 2018, at 3:17 p.m.

    The story has been updated with a comment from Drew Olanoff.

    MORE STORIES ABOUT ELON MUSK

    Elon Musk Has Apologized After Calling A Thai Cave Rescuer A
    "Pedo"
    Hazel Shearing · Jul. 18, 2018

    Elon Musk Has Always Been At War With The Media
    Caroline O'Donovan · Jun. 21, 2018


    At Tesla's Factory, Building The Car Of The Future Has Painful And
    Permanent Consequences For Some Workers
    Caroline O'Donovan · Feb. 4, 2018




                  Ryan Mac is a senior tech reporter for BuzzFeed News and is based in San Francisco.

                  Contact B.v.an Mac at rv.an.mac@buzzfeed.com.

                  Got a confidential tip? Submit it here .                 '




                                                    ... _____ .... _. ·-- ~--""'
https://www.buzzfeednews.com/article/ryanmac/elon-musk-revisits-baseless-pedophile-claims                        4/8
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9/11/2018                                                Elon Musk Has Revisited His Baseless Pedophile Claims

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                11 Comments                                                                 Sort by   Top




                               Add a comment. ..



                             Kenneth Clogg-Wright
                             What happened to the days when CEO just shut up and did their
                         1
                             jobs ... Social media is destroying society! sigh
                             Like · Reply ·   3 · 2w

                                       Phinneus Plum
                                       I think it's their inability to control themselves & keep their
                                       mouths shut that is ruining society.
                                       Like· Reply·      13 · 1w

                                       Alaire Mansell
                                       I love social media just for this reason. Now when
                                       someone says something that is so mind-bendingly
                                       stupid, it comes directly from them, not their PR, not their
                                       handlers.
                                       If a CEO (or president, or senator. or any other person
                                       with a lot of power) suffers the consequences of their own
                                       idiocy
                                       MAYBE IT'S TIME FOR SOCIETY TO BURN DOWN!
                                       Like· Reply·     9 · 1w

                                       Ryan Matthew Jones
                                       Why are you working under the assumption that social
                                       media is to blame? It's not like CEOs haven't made idiotic
                                       comments before. Now it's just readily available.
                                       Like · Reply ·   6 · 1w

                             Lena Wagenfuehr
                             People used to laugh at me when I said Elon Musk was Trump in
                             training ... since July, no one has even giggled. The only good thing




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9/11/2018                                                 Elon Musk Has Revisited His Baseless Pedophile Claims


                            Melanie Schneiderman
                           I'm so torn. Musk is a visionary, but sometimes when people label
                           you a "visionary," they think they have free range to do whatever
                           the hell they want. Elon Musk has some interesting ideas, but
                           many of them don't seem feasible. Hey what do I know? I AM a
                           Russian immigrant. I feel like that means (in the US right now) my
                           voice/opinion doesn't matter much ;;._:,
                           Like· Reply· 1w

                                      Nate Lazarus
                                      None of our voices matter... we're being drowned out by
                                      the super-rich and their dumbass Trump followers.
                                      Like · Reply ·      2 · 6d

                                      Melanie Schneiderman
                                      Nate Lazarus You're so right, unfortunately
                                      Like · Reply · 4d

                           Reemadree Monzur
                           scientists are digging a hole in antarctica for ice cores but they'll
                           never dig a deeper hole than elon musk is for himself.
                           Like· Reply·       27 · 1w

                           Maxie Pad
                           Lil Elon's ego, fame-whoring and lack of self-restraint are on par
                           with Trump's, and he's decades younger. He might want to take a
                           chill pill before he bursts into a puddle of self-pity.
                           Like· Reply·       3 · 1w · Edited

                           Caitlin Adane
                           Maybe it was a reference to all the Sex Tourism in Thailand ?
                           Most of them a foreigners .
                           Like· Reply·       3 · 1w

                           Katherine Handcock
                           Gosh, why wouldn't he sue someone who has a ridiculous amount
                           of money to throw at lawyers??
                           Like· Reply·       2 · 1w

                           K Thomas Mcgee
                           What is wrong with this rich little dork? Seems like he's having a
                           tough week, could someone bring him a box of animal crackers
                           and a juice box?
                           Like· Reply·       2 · 1w

                           Lauren Seals
                           He needs to do less coke.




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                           Doooood! You NEED to shut up!
                           Like· Reply·       1 · 1w




   TRENDING NEWS




   A Cartoonist's Drawing Of Serena Williams At The US                                      The Man Behind The Serena Williams
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                                                          BuzzFeed~ews
        Hurricane Florence              9 /11 Anniversary Dallas Apartment Shooting US Open Controversy

    TECH


    In A New Email, Elon Musk Accused A Cave
   Rescuer Of Being A "Child Rapist" And Said He
   "Hopes" There's A Lawsuit
    In an email to BuzzFeed News, Tesla CEO Elon Musk accused a Thai cave rescuer of
    moving to Thailand to take a child bride. The rescuer denied all the claims.

    By Ryan Mac and Mark Di Stefano and John Paczkowski
    Posted on September 4, 2018, at 5:04 p.m. ET




   British caver Vernon Unsworth at the Tham Luang cave complex during a search for members of a soccer team




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9/11/2018                 In A New Email, Elon Musk Accused A Cave Rescuer Of Being A "Child Rapist'' And Said He "Hopes" There's A Lawsuit


    Tesla CEO Elon Musk has renewed his attacks against a British man who played
    a key role in the rescue of a youth soccer team trapped in a flooded cave in
    Thailand.

    Musk last month apologized for accusing Vernon Unsworth of pedophilia after
    the diver questioned the value of Musk's contribution to the rescue, a small
    submarine that ultimately went unused. But in a series of emails to BuzzFeed
    News, Musk repeated his original attacks on Unsworth - and made new and
    specific claims, lambasting the rescuer as a "child rapist" who had moved to
    the Southeast Asian country to take a child bride. Unsworth denied Musk's
    accusations through his attorney.

    Though Musk prefaced one email with "off the record:' BuzzFeed News did not
    agree to that condition of the correspondence. (Per common journalistic
    practice, a conversation is off the record only if both parties agree to the terms.
    )

   BuzzFeed News first emailed Musk last Wednesday to ask for con1ment
   regarding a legal threat made by Unsworth's lawyer in August after the Tesla
   CEO renewed his apparently evidenceless criticism of the rescuer in a Twitter
   argument the day before. Musk responded without addressing the substance
   of the legal threat. BuzzFeed News followed up twice, once on Wednesday and
   once on Thursday, and Musk responded with two separate emails.


   "I suggest that you call people you know
   in Thailand, find out what's actually going
   on and stop defending child rapists, you
   fucking asshole."
   "I suggest that you call people you know in Thailand, find out what's actually
   going on and stop defending child rapists, you fucking asshole:' Musk wrote in


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9/11/2018                 In A New Email, Elon Musk Accused A Cave Rescuer Of Being A "Child Rapist" And Said He "Hopes" There's A Lawsuit


    traveling to or living in Thailand for 30 to 40 years, mostly Pattaya Beach, until
    moving to Chiang Rai for a child bride who was about 12 years old at the time;'

    "As for this alleged threat of a lawsuit, which magically appeared when I raised
    the issue (nothing was sent or raised beforehand), I fucking hope he sues me;'
    he added.

    It is unclear why Musk believes the allegations against Unsworth or what
    evidence he has to support them. Musk did not provide proof of his claims to
    BuzzFeed News, and BuzzFeed News could not verify any of the claims after
    reporting on Unsworth's background.


                                       at




   BuzzFeed News



   The Tesla CEO's continued campaign against Unsworth offers a glimpse into
   the new ability of some of the world's wealthiest and most powerful figures to
   directly attack private citizens who cross them - and will test the capacity of
   traditional legal tools against them.

   "Elon Musk can tweet his vindictive and vicious lie about Mr. Unsworth a
   hundred times and it will still be a lie;' Unsworth's lawyer, L. Lin Wood, wrote
                                                           ..    . .. .    .


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9/11/2018                     In A New Email, Elon Musk Accused A Cave Rescuer Of Being A "Child Rapist" And Said He "Hopes" There's A Lawsuit

    Mr Musk has continued to republish his false and unsupportable accusation.
    His conduct demonstrates that his recklessness is intentional and designed to
    harm Mr. Unsworth."

    A spokesperson for Tesla did not immediately return a request for comment on
    Musk's newest allegations, and referred to a 12revious statement issued bY. the
    board in response to a question about its support for the company's CEO.

   The feud began in July when Musk tweeted that Unsworth was "a pedo guy"
   after the rescuer called the billionaire's attempt to use a custon1-designed
   submarine in the rescue effort a "publicity stunt:' Musk later a12ologized and
   deleted this tweets, but revisited the claim last week in an argument on
   Twitter, asking why Unsworth hadn't sued yet if the accusations were indeed
   untrue. BuzzFeed News then re12orted that Wood had actuallY. sent Musk a
   letter warning of a possible defamation suit in early August.

   Musk's renewed attacks on Unsworth come after a series of erratic public
   gestures, notably a widely publicized suggestion that he would take Tesla
   private and the narration of his home life by the rapper Azealia Banks. And the
   new accusations leveled at Unsworth threaten to undermine a recent charm
   offensive intended to frame the CEO's erratic behavior as the actions of an
   overworked luminary struggling to maintain his world-changing businesses.
   It's been a particularly difficult summer for the billionaire, marked by Tesla's
   missed production goals, clashes with reporters, and his failed attempt to take
   his car company private.

   Despite that, Musk still managed to maintain a dispute with Unsworth, a 63-
   year-old cave explorer and diver, whom he has now accused of taking a child
   bride.

   BuzzFeed News could find no evidence to support that claim, and Musk did not
   provide any documentation to support his accusations. Publicly available legal
   documents do nothing to support Musk's claims: BuzzFeed News could not
               ...   •   ..   'Ill




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9/11/2018                  In A New Email, Elon Musk Accused A Cave Rescuer Of Being A "Child Rapist" And Said He "Hopes" There's A Lawsuit

    Separately, a Thai immigration official named Ploy Pailin told BuzzFeed News
    that an individual on a visa would likely not have it renewed if they had been
    found guilty of criminal activity in the country. Pailin also said that while
    foreigners applying for visas in Thailand do not undergo mandatory
    background checks, those who are found guilty of serious crimes are often
    blacklisted by the government and can be removed from the country.




   BuzzFeed News



   BuzzFeed News also spoke with Woranan RatrawiP-hukkun, a Thai woman who
   is Unsworth's longtime girlfriend. She said she had been with Unsworth for
   more than seven years and has posted numerous photos about their
   relationship on social media dating back several years. Unsworth, she added,
   spends part of the year in Thailand and part of the thne in the UK.

   RatrawiP-hukkun, who said she is 40, declined to comment on Musk's
   allegations against Unsworth, and referred a reporter to his lawyers.

   Among Musk's other claims about Unsworth is that he was not part of the
   actual dive team in the Thailand cave rescue. While Unsworth did not dive for


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    the Brit as instrumental to the effort, as he had previously mapped and
    explored some of the cave system and recruited some of the divers who went
    into the cave.

    "He may claim to know how to cave dive, but he wasn't on the cave dive rescue
    team and 1nost of the actual dive team refused to hang out with him:' Musk
    wrote in one email. In another email in which Musk wrote "on background" -
    BuzzFeed News again did not agree to these terms - the Tesla CEO said, "Never
    saw Unsworth at any point. Was told he was banned from the site!'

    A British diver on the rescue mission who had previously been in contact with
    Musk, Rick Stanton, denied those claims.

    "I've no idea what gave you those concerns about Vern:' Stanton wrote over
    Facebook Messenger. "They are completely unfounded. He was never kicked off
    site by anyone and worked continuously on the rescue for the full duration. He
    was pivotal to the entire operation!'

    Two Australian specialists who were brought in by the Thai government to aid
    the Thai cave rescue operation, Richard Harris and Craig Challen, also rejected
    Musk's allegation.

   "Vern seemed like an excellent guy and absolutely vital to the mission;' said
   Harris, who, with Challen, helped in the sedation of the Thai boys before they
   were brought out of the cave by the British divers. "You must be confusing him
   with someone else!'

   "He was pivotal with his knowledge of the cave. [The] rescue wouldn't have
   happened without him recon1mending the Brits were called;' Harris said.

   Photos and videos posted on Facebook by Woranan and members of the local
   Thai news media show Unsworth at the site through the duration of the
   operation, which lasted more than two weeks in the country's Chiang Rai
   province. Some of those photos show Unsworth posing with other British


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    In his second email to BuzzFeed News, Musk commented on Unsworth's
    interview with CNN.

   "Unsworth also said I was asked to leave by the Thai govt, which is utterly false.
   Thai Prime Minister thanked me personally per attached docs. I went all the
   way to area 3 with the Thai SEAL team, who were awesome.''

    Unsworth did say that Musk was asked to leave the cave in the interview, but
    did not specify who had asked him.

   Musk also supplied a letter to BuzzFeed News from the Thai prime minister
   thanking him for his tean1's involvement in the rescue. "I wish to convey my
   deep appreciation to you and your engineering team for your expeditious and
   extraordinary efforts in constructing the Space-X mini-submarine 'Wild Boar'
   to assist the rescue operation of the Moo Pa Academy Football team trapped in
   Tham Luang Cave, Chiang Rai province:' wrote General Prayut Chan-o-cha.




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    Elon Musk provided to BuzzFeed News



    In addition, Musk clahned that the mini-sub, which ulthnately was not used in
    the rescue, was built to Stanton's specifications, and that it was not deployed
    only because too much water had been drained from the cave. Stanton,
    however, denied that was the reason, and said he did not recall providing exact
    specifications to Musk.

   "We didn't use the tube because rescue operations were already well underway
   and it didn't have the necessary life support systems;' Stanton said to BuzzFeed
   News on Facebook Messenger. "Essentially, it wasn't developed enough. I do
   think it has promise in certain situations and I hope they keep working on it to
   get it in shape for evaluation and to be considered as a viable alternative in
   future underwater rescue scenarios!'

   In another claim, Musk noted that "the alleged threat of a lawsuit" from
   Unsworth "magically appeared when I raised the issue" on Twitter last week


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    lawyer, provided BuzzFeed News with confinnation showing that he had sent a
    note titled "Fwd: Defamation of Vernon Unsworth" containing the legal letter
    to the appropriate email address for Musk's office at SpaceX on Aug. 6.

    BuzzFeed News corresponded with the Tesla and SpaceX CEO at a separate,
    personal email address that two sources confirmed belonged to Musk. One
    source, who had previously worked for Musk, noted that the email address can
    be accessed by the billionaire and his assistants. The source noted that it was
    not uncommon for Musk to personally respond to reporters and other people
    through that account.

    Wood did not respond to questions asking him to more specifically address
    each of Musk's accusations, but suggested that he was moving closer to legal
    action.

    "Today the rich and powerful seem all too ready to tweet falsities in the hope
    and expectation that their wealth and position will protect them;' he wrote in
    a statement. "Pedophilia is too serious an issue to leave unchallenged. If Mr.
    Musk believes his wealth affords him protection fron1 his lies and Twibels, he
    is sadly n1istaken;'

    Here are the emails Elon Musk sent to BuzzFeed News reporter Ryan Mac


            From: Elon Musk < redacted >
            Date: Thu, Aug 30, 2018 at 6:43 PM
            Subject: RE: BuzzFeed News: Unsworth legal letter
            To: "ryan.mac@buzzfeed.com"

            Off the record

            I suggest that you call people you know in Thailand, find out what's
            actually going on and stop defending child rapists, you fucking asshole.



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            moving to Chiang Rai for a child bride who was about 12 years old at
            the time. There's only one reason people go to Pattaya Beach. It isn't
            where you'd go for caves, but it is where you'd go for something else.
            Chiang Rai is renowned for child sex-trafficking.

            He may claim to know how to cave dive, but he wasJ.?.'t on the cave dive
            rescue team and most of the actual dive team refused to hang out with
            him. I wonder why ...

            htt12s://www.gQQgle.com/search?
            g=chiang+rai +child +trafficking&ie= UTF-8&oe= UTF-8&hl=en-
            us&client=safari

            As for this alleged threat of a lawsuit, which magically appeared when I
            raised the issue (nothing was sent or raised beforehand), I fucking hope
            he sues me.


            ***
            From: Elon Musk < redacted >
            Date: Thu, Aug 30, 2018 at 7:16 PM
            Subject: Fwd: Letters
            To: "ryan.mac@buzzfeed.com"
            On background

            Unsworth also said I was asked to leave by the Thai govt, which is
            utterly false. Thai Prime Minister thanked me personally per attached
            docs. I went all the way to area 3 with the Thai SEAL team, who were
            awesome. Never saw Unsworth at any point. Was told he was banned
            from the site.

            It is also total bs that the mini-sub wouldn't fit through the caves. It


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            Stanton and the actual dive team. The only reason it wasn't used was
            that they were able to drain almost all the water out of the caves, so the
            underwater portion was very short, and the monsoon arrived later than
            expected.

            Those pumps were critical. Some of the Tesla team helped with
            electrical power, but major credit to whoever provided those pumps.
            They were amazing. I'm told they were from some company in India.




    MORE ON MUSK AND THE RESCUER

    Elon Musk Has Revisited His Baseless Pedophile Claims
    Ryan Mac · Aug. 28, 2018

    The Cave Rescuer Elon Musk Called A "Pedo" Has Lawyered Up And
    Is Preparing A Libel Claim
    Ryan Mac · Aug. 29, 2018

    Elon Musk Has Apologized After Calling A Thai Cave Rescuer A
    "Pedo"
    Hazel Shearing · Jul. 18, 2018

    Elon Musk Has Always Been At War With The Media
    Caroline O'Donovan · Jun. 21, 2018



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                  Ryan Mac is a senior tech reporter for BuzzFeed News and is based in San Francisco.

                  Contact B.v.an Mac at r.v.an.mac@buzzfeed.com.

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                  John Paczkowski is a technology and business editor for BuzzFeed News and is based in San Francisco.

                  Contact John Paczkowski at john.P-aczkowski@buzzfeed.com.




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